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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



ANDRE BRACY                                         :            CIVIL ACTION
                                                    :
                                                    :
       v.                                           :
                                                    :
                                                    :
DIVERSIFIED CONSULTANTS, INC.                       :            NO. 2:15-cv-5033



                                         ORDER

       AND NOW, this 30th day of November 2015, it having been reported that the issues
between the parties in this matter have been settled, and pursuant to the provisions of Rule
41.1(b) of the Local Rules of Civil Procedure, it is hereby ORDERED that this matter is
DISMISSED with prejudice. It is further ORDERED that all pending motions are DENIED as
moot. The Clerk of Court is directed to statistically close this matter.



                                           MICHAEL E. KUNZ, Clerk of Court




                                           By: /s/ Mia Harvey
                                              Mia Harvey
                                              Civil Deputy to Judge Legrome D. Davis
